Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 1 of 29 PagslD #7 4.35 pm

48C04-1903-CT-000032 ee
Madison Circuit Court 4 Madison County, Indiana
STATE OF INDIANA ) IN THE MADISON COUNTY SUPERIOR COURT
) SS: CIVIL DIVISION
COUNTY OF MADISON _ ) CAUSE NO.::
TODD W. HALEY, )
)
Plaintiff, )
)
V. )
)
R&S DEVORE TRUCKING INC., )
RISING STAR LEASING INC., and )
DERICK W. HARDISTY, )
)
Defendants. )

APPEARANCE BY ATTORNEY IN CIVIL CASE
Party Classification: Initiating  X Responding Intervening

1. The undersigned attorney and all attorneys listed on this form now appear in this case for the
following party member(s): Todd W. Haley

2. Applicable attorney information for service as required by Trial Rule 5(B)(2) and for case
information as required by Trial Rule 3.1 and 77(B) is as follows:

Name: Jason A. Shartzer, Attorney No. 23989-49
SHARTZER LAW FIRM, Lic
Address: 156 E. Market Street

10 Floor, Suite 1000
Indianapolis, Indiana 46204

Phone: (317) 969-7600 Fax: (317) 969-7650

3. There are other party members: Yes___ No _X_(If yes, list on continuation page.)

4, If first initiating party filing this case, the Clerk is requested to assign this case the following Case
Type under Administrative Rule 8(b)(3): CT

5. I will accept service by FAX at the above noted#: Yes__ Ss No__X

6. This case involves support issues. Yes__ = No__X

7. There are related cases: Yes_ Ss No___X __ (If yes, list on continuation page)

8. This form has been served on all other parties. Certificate of Service is attached: Yes___ No_X

9. Additional information required by local rule:

/s/ Jason A. Shartzer
Attorney for Plaintiff

EXHIBIT

BB

 
Case 1:19-cv-01776-JRS-TAB Document1-2 Filed 05/02/19 Page 2 of 29 Pagel) #hioBig 1:32 pm

48C04-1903-CT-000032 2 PM
Madison Circuit Court 4 Madison County, Indiana
STATE OF INDIANA ) IN THE MADISON COUNTY SUPERIOR COURT
) SS: CIVIL DIVISION
COUNTY OF MADISON _ ) CAUSE NO.:
TODD W. HALEY, )
)
Plaintiff, )
) JURY TRIAL REQUESTED
v. )
)
R&S DEVORE TRUCKING INC., )
RISING STAR LEASING INC., and )
DERICK W. HARDISTY, )
)
Defendants. )

COMPLAINT FOR DAMAGES

Comes now the Plaintiff, Todd W. Haley, by counsel, and for his Complaint for Damages
against the Defendants, R&S Devore Trucking Inc., Rising Star Leasing Inc. and Derick W.
Hardisty, alleges and asserts that:

1. At all times mentioned herein, the Plaintiff, Todd W. Haley, was resident of the
Martinsville, County of Morgan, State of Indiana.

2. At all times mentioned herein, the Defendant, Derick Hardesty, was a resident of
the City of Havana, County of Mason, State of Illinois.

3. At all times relevant herein, the Defendant, R&S Devore Trucking Inc.,
(hereinafter “R&S Devore”), was a corporation of unknown origin and was conducting business
within the State of Indiana.

4. At all times relevant herein, the Defendant, Rising Star Leasing Inc., (hereinafter
“Rising Star”), was a corporation of unknown origin and was conducting business within the
State of Indiana.

5: At all times relevant herein the Defendant, Derick W. Hardisty, was an employee,
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 3 of 29 PagelD #: 9

agent and representative of the Defendants, R&S Devore and Rising Star, and was acting within
the scope and course of that employment.

6. At all times mentioned herein, there was and now is, in the County of Madison,
State of Indiana, a public thoroughfare known as Interstate 69, which runs generally in an
northerly and southerly direction.

7. Onor about the 2nd day of March, 2017, at approximately 2:15 p.m., Plaintiff,
Todd W. Haley, was driving his vehicle soutbound on Interstate 69 in Madison County near the
221 mile marker.

8. At said time and place, the Defendant, Derick Hardisty, who was traveling
southbound behind the Plaintiff on Interstate 69, carelessly and negligently failed to keep a
proper lookout and caused a rear-end collision with Plaintiff, Todd W. Haley’s vehicle.

9. At said time and place, the Defendants, R&S Devore and Rising Star, by and
through its servant, agent representative and/or employee, Derick W. Hardisty, were careless or
negligent in one or more of the following respects:

a. The Defendant, Derick W. Hardisty, carelessly and negligently failed to
maintain a proper lookout for other vehicles using the roadway;

b. The Defendant, Derick W. Hardisty, carelessly and negligently failed to keep
his vehicle under proper control so as to avoid causing a collision with
Plaintiff s vehicle;

c. The Defendant, Derick W. Hardisty, carelessly and negligently operated his
vehicle at an unreasonable and unsafe speed under the circumstances; and

d. The Defendant, Derick W. Hardisty, carelessly and negligently failed to change,
alter or divert the course of his vehicle so as to avoid causing a collision with the
Plaintiff, Todd W. Haley’s vehicle.
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 4 of 29 PagelD #: 10

10. Asa direct and proximate result of the carelessness and negligence of the

Defendants, the Plaintiff, Todd W. Haley, sustained personal injuries resulting in pain and

suffering.
11. All of said injuries are permanent, except those which are superficial in nature.
12. _Inan attempt to treat his injuries and lessen his pain and suffering, the Plaintiff,

Todd W. Haley, has been required to engage the services of hospitals, physicians, and physical
therapists for medical care and treatment, medication, and X-rays for which he has incurred
reasonable medical expenses.

13. Plaintiff, Todd W. Haley, may require additional medical care and treatment in
the future, for which he will incur additional medical expenses.

14. At the time of the collision, the Plaintiff, Todd W. Haley, was gainfully employed
and, as a result of the collision, the Plaintiff was forced to miss work and he may miss additional
work in the future, thereby incurring additional lost wages.

15. Asa direct and proximate result of the carelessness and negligence of the

Defendants, the Plaintiff has been damaged.

WHEREFORE, Plaintiff, Todd W. Haley, prays for judgment against the Defendants,
R&S Devore Trucking Inc., Rising Star Leasing Inc. and Derick W. Hardisty, in an amount
commensurate with his injuries and damages, for the costs of this action, a trial by jury, and for

all other just and proper relief in the premises.
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 5 of 29 PagelD #: 11

Respectfully submitted,

/s/ Jason A. Shartzer

Jason A. Shartzer, Esq. #23989-49
SHARTZER LAW FIRM, LLC

156 E. Market Street

10" Floor, Suite 1000
Indianapolis, Indiana 46204

(317) 969-7600

(317) 969-7650 Fax
jshartzer@shartzerlaw.com
Counsel for Plaintiff
Case 1:19-cv-01776-JRS-TAB Document 1-2_ Filed 05/02/19 Page 6 of 29 Page|D #3 4254.39 pm

48C04-1903-CT-000032 Giarl
Madison Circuit Court 4 Madison County, Indiana
SUMMONS
STATE OF INDIANA ) IN THE MADISON COUNTY SUPERIOR COURT
) SS: CIVIL DIVISION
COUNTY OF MADISON _ ) CAUSE NO.:
TODD W. HALEY, )
)
Plaintiff, )
)
V. )
)
R&S DEVORE TRUCKING INC., )
RISING STAR LEASING INC., and )
DERICK W. HARDISTY, )
)
Defendants. )

TO DEFENDANT: __ Derick W. Hardisty
831 Blue Sky East
Havana, IL 62644

You are hereby notified that you have been sued by the person named as plaintiff and in the Court
indicated above.

The nature of the suit against you is stated in the complaint which is attached to this Summons. It
also states the relief sought or the demand made against you by the plaintiff.

An answer or other appropriate response in writing to the complaint must be filed either by you or
your attorney within twenty (20) days, commencing the day after you receive this Summons, (or twenty-three
(23) days if this Summons was served by mail), or a judgment by default may be rendered against you for the
relief demanded by plaintiff.

If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you
must assert it in your written answer.

*If you need the name of an attorney, you may contact the Indianapolis Bar Association Lawyer
Referral Service (317-269-2222), or the Marion County Bar Association Lawyer Referral Service (317-634-
3950). 4

3/4/2019
Dated i A &

 

Clerk, Madison Superior Cow js

(The following manner of service of summons is hereby designatec };
_X_ Registered or certified mail. i

Jason A. Shartzer, #23989-49 156 E. Market Street, Suite 10 :
SHARTZER LAW FIRM, LLC Indianapolis, IN 46204
Counsel for Plaintiff (317) 969-7600 (317) 969-7

 
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 7 of 29 PagelD #: 13

SHERIFF'S RETURN ON SERVICE OF SUMMONS

I hereby certify that I have served this summons on the __ day of ,20__.
(1) By delivering a copy of the Summons and a copy of the complaint to the
defendant, :
(2) By leaving a copy of the Summons and a copy of the complaint at
and by mailing a copy of said summons to said defendant at the above address.
(3) Other Service or Remarks:

 

 

Sheriff's Costs Sheriff, Madison County
By:
Deputy
CERTIFICATE OF MAILING
I hereby certify that on the__ day of , 20__, I mailed a copy of this Summons and a
copy of the complaint to the defendant, , by mail, requesting a return receipt,

 

at the address furnished by the plaintiff.

Dated:

 

Signature

 

Printed Name

RETURN ON SERVICE OF SUMMONS BY MAIL

I hereby certify that the attached return receipt was received by me showing that the Summons and a

 

copy of the complaint mailed to defendant was accepted by the defendant on the
day of ,20_.

I hereby certify that the attached return receipt was received by me showing that the Summons and a
copy of the complaint was returned not accepted on the ___ day of 20.

I hereby certify that the attached return receipt was received by me showing that the Summons and a
copy of the complaint mailed to defendant was accepted by on
behalf of said defendant on the__ day of , 20.

Signature

 

Printed Name
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 8 of 29 PagelD. #414 0 1.35 py

48C04-1903-CT-000032 eee
Madison Circuit Court 4 Madison County, Indiana
SUMMONS
STATE OF INDIANA ) IN THE MADISON COUNTY SUPERIOR COURT
) SS: CIVIL DIVISION
COUNTY OF MADISON _) CAUSE NO::
TODD W. HALEY, )
)
Plaintiff, )
)
Vv. )
)
R&S DEVORE TRUCKING INC., )
RISING STAR LEASING INC., and )
DERICK W. HARDISTY, )
)
Defendants. )

TO DEFENDANT: R&S Devore Trucking Inc.
c/o Highest Ranking Officer
205 N. First Street
Easton, IL 62633

You are hereby notified that you have been sued by the person named as plaintiff and in the Court
indicated above.

The nature of the suit against you is stated in the complaint which is attached to this Summons. It
also states the relief sought or the demand made against you by the plaintiff.

An answer or other appropriate response in writing to the complaint must be filed either by you or
your attorney within twenty (20) days, commencing the day after you receive this Summons, (or twenty-three
(23) days if this Summons was served by mail), or a judgment by default may be rendered against you for the
relief demanded by plaintiff.

If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you
must assert it in your written answer.

*If you need the name of an attorney, you may contact the Indianapolis Bar Association Lawyer
Referral Service (317-269-2222), or the Marion County Bar Association Lawyer Referral Service (317-634-

- Whinia Packt
Dated 3/4/2019 “A

MUS Clerk, Madison Superior Court

  
 

(The following manner of service of summons is hereby designatec / {
_X_ Registered or certified mail. j

Jason A. Shartzer, #23989-49 156 E. Market Street, Suite 10 .
SHARTZER LAW FIRM, LLC Indianapolis, IN 46204
Counsel for Plaintiff (317) 969-7600 (317) 969-7
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 9 of 29 PagelD #: 15

SHERIFF'S RETURN ON SERVICE OF SUMMONS

I hereby certify that I have served this summons on the__ day of ,20__.
(1) By delivering a copy of the Summons and a copy of the complaint to the
defendant, .
(2) By leaving a copy of the Summons and a copy of the complaint at
and by mailing a copy of said summons to said defendant at the above address.
(3) Other Service or Remarks:

 

 

Sheriff's Costs Sheriff, Madison County
By:
Deputy
CERTIFICATE OF MAILING
I hereby certify that onthe __ day of , 20__, I mailed a copy of this Summons and a
copy of the complaint to the defendant, , by mail, requesting a return receipt,

 

at the address furnished by the plaintiff.

 

 

 

Dated:
Signature
Printed Name
RETURN ON SERVICE OF SUMMONS BY MAIL

I hereby certify that the attached return receipt was received by me showing that the Summons and a
copy of the complaint mailed to defendant was accepted by the defendant on the
day of ,20__.

I hereby certify that the attached return receipt was received by me showing that the Summons and a
copy of the complaint was returned not accepted on the ___ day of »20_.

I hereby certify that the attached return receipt was received by me showing that the Summons and a
copy of the complaint mailed to defendant was accepted by on
behalf of said defendant on the __ day of ,20__

Signature

 

Printed Name
Filed: 3/4/2U19 1:32 PN

Case 1:19-cv-01776-JRS-TAB ABE IOB-£ 1-9000%%02/19 Page 10 of 29 PagelID #16 —Cler

Madison Circuit Court 4 Madison County, Indian.
SUMMONS
STATE OF INDIANA ) IN THE MADISON COUNTY SUPERIOR COURT
) SS: CIVIL DIVISION
COUNTY OF MADISON _ ) CAUSE NO.:

TODD W. HALEY, )
Plaintiff, 5
)
V. )
)
R&S DEVORE TRUCKING INC., )
RISING STAR LEASING INC., and )
DERICK W. HARDISTY, )
Defendants.

TO DEFENDANT: Rising Star Leasing Inc.
c/o Highest Ranking Officer
3370 Singer Avenue
Springfield, IL 62703

You are hereby notified that you have been sued by the person named as plaintiff and in the Court
indicated above.

The nature of the suit against you is stated in the complaint which is attached to this Summons. It
also states the relief sought or the demand made against you by the plaintiff.

An answer or other appropriate response in writing to the complaint must be filed either by you or
your attorney within twenty (20) days, commencing the day after you receive this Summons, (or twenty-three
(23) days if this Summons was served by mail), or a judgment by default may be rendered against you for the
relief demanded by plaintiff.

If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you
must assert it in your written answer.

*If you need the name of an attorney, you may contact the Indianapolis Bar Association Lawyer
Referral Service (317-269-2222), or the Marion County Bar Association Lawyer Referral Service (317-634-
3950). ‘ or

Dated_3/4/2019 , A :
Clerk, Madison Superior Court yy js

   

 

(The following manner of service of summons is hereby designatec{
_X_ Registered or certified mail.

Jason A. Shartzer, #23989-49 156 E. Market Street, Suite 1C
SHARTZER LAW FIRM, LLC Indianapolis, IN 46204
Counsel for Plaintiff (317) 969-7600 (317) 969-7
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 11 of 29 PagelID #: 17

SHERIFF'S RETURN ON SERVICE OF SUMMONS

I hereby certify that I have served this summons on the __ day of ,20_.
(1) By delivering a copy of the Summons and a copy of the complaint to the
defendant, .
(2) By leaving a copy of the Summons and a copy of the complaint at
and by mailing a copy of said summons to said defendant at the above address.
(3) Other Service or Remarks:

 

 

Sheriff's Costs Sheriff, Madison County
By:
Deputy
CERTIFICATE OF MAILING
I hereby certify that on the__ day of , 20__, I mailed a copy of this Summons and a
copy of the complaint to the defendant, , by mail, requesting a return receipt,

 

at the address furnished by the plaintiff.

 

 

 

Dated:
Signature
Printed Name
RETURN ON SERVICE OF SUMMONS BY MAIL

Thereby certify that the attached return receipt was received by me showing that the Summons and a
copy of the complaint mailed to defendant was accepted by the defendant on the
day of ,20.

Thereby certify that the attached return receipt was received by me showing that the Summons and a
copy of the complaint was returned not accepted on the ___ day of ,20__.

Thereby certify that the attached return receipt was received by me showing that the Summons and a
copy of the complaint mailed to defendant was accepted by on
behalf of said defendant on the __ day of , 20

Signature

 

Printed Name
Case 1:19-cv-01776-JRS-TAB Documenti1-2 Filed 05/02/19

BENDER: COMPLETE THIS SECTION

 
      

COMPLETE THIS SECTION ON DELIVERY

   

  

 

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R&S Devore Trucking. Inc.

c/o Highest Ranking Officer
205 N. First Street
Easton, IL 62633

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Page 12 of 29 Page|D #: 18
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Madison County, Indiana
1/2019 1:59 Ph

Madison County, Indian.

Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 13 of 2q,Pageley ty eitcuit Court

SENDER: COMPLETE THIS SECTION
8 Complete items 1, 2, and 3.

  

& Print your name and address on the reverse

so that we can return the card to you.

@ Attach this card to the back of the malipiece,

or on the front if space permits.

COMPLETE THIS SECTION ON DELIVERY.

 

A. Signature
© Agent
X . CI Addresse

 

B, Received by (Printed Name) G. Date of Deliver

 

 

\. Article Addressed to:

Rising Star Leasing, Inc.

c/o Highest Ranking Officer
3370 Singer Avenue
Springfield, IL 62703

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D. Is delivery address different from Item 1? ©] Yes
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Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 14 of 29 PagelD oe aa ny
ed: z

Madison County Circuit Court 4
Madison County, Indiana

STATE OF INDIANA ) MADISON CIRCUIT COURT
) $s:
COUNTY OF MADISON ) CAUSE NO.: 48C04-1903-CT-32

TODD W. HALEY,
Plaintiff,
vs.

)
)
)
)
)
R&S DEVORE TRUCKING INC., _)
RISING STAR LEASING INC. and _ )
DERICK W. HARDISTY, )
)
)

Defendants.
APPEARANCE BY ATTORNEY IN CIVIL CASE
Party Classification: Defendants

de The undersigned attorney and all attorneys listed on this form now
appear in this case for the following party member(s):
R&S Devore Trucking, Inc. and Derick W. Hardisty

2. Applicable attorney information for service as required by Trial Rule
5(B)(2) and for case information as required by Trial Rules 3.1 and 77(B) is as
follows:

Christopher R. Whitten, Attorney No. 20429-49
WHITTEN LAW OFFICE
6801 Gray Road, Suite H
Indianapolis, IN 46237
(317) 362-0225 Telephone
(317) 362-0151 Facsimile
cwhitten@indycounsel.com

Lia M. Gucciardi Bowers, Attorney No. 27556-64
WHITTEN LAW OFFICE
450 Vale Park Rd, Suite D
Valparaiso, IN 46385
PH: 219-531-6719
Fax: 219-531-6471
lbowers@indycounsel.com

 

3s There are other party members: No.
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 15 of 29 PagelD #: 21

4. If first initiating party filing this case, the Clerk is required to assign
this case the following Case Type under Administrative Rule 8(b)(3): N/A.

5. I will accept service by FAX at the above noted number: No.

6. This case involves support issues. No. (If yes, supply social security
number for all family members).

7. There are related cases: No.

8. This form has been served on all other parties. Certificate of Service
is attached: Yes.

9. Additional information required by local rule: N/A.
Respectfully submitted,
WHITTEN LAW OFFICE

Mp ih

Christopher R. Whitten /20429-49
TAMOMce rt fewers

Lia M. Gucciardi Bowers /27556-64
Counsel for Defendants

 

 
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 16 of 29 PagelD #: 22

CERTIFICATE OF SERVICE

 

I certify that on March 20, 2019, I electronically served the foregoing to the
following participants:

Jason A. Shartzer, Esq.
SHARTZER LAW FIRM, LLC
156 E Market St

10 Floor, Suite 1000
Indianapolis, IN 46204
ishartzer@shartzerlaw.com

Mp ili

Christopher R. Whitten
Lia M. Gucciardi Bowers

 

Christopher R. Whitten, Esq.
WHITTEN LAW OFFICE

6801 Gray Road, Suite H
Indianapolis, IN 46237

PH: 317-362-0225

Fax: 317-362-0151
cwhitten@indycounsel.com

Lia M. Gucciardi Bowers, Esq.
WHITTEN LAW OFFICE

450 Vale Park Rd, Suite D
Valparaiso, IN 46385

PH: 219-531-6719

Fax: 219-531-6471
lbowers@indycounsel.com
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 17 of 29 Page|D #: 23
iled: 3/20/2019 1:31 PM
Madison County Circuit Court 4
Madison County, Indiana

STATE OF INDIANA ) MADISON CIRCUIT COURT
) Ss:
COUNTY OF MADISON _) CAUSE NO.: 48C04-1903-CT-32
TODD W. HALEY,
Plaintiff,
vs.
R&S DEVORE TRUCKING INC.,
RISING STAR LEASING INC. and
DERICK W. HARDISTY,

Defendants.

MOTION FOR ENLARGEMENT OF TIME
Defendants, R&S Devore Trucking, Inc. and Derick W. Hardisty

(“Defendants”), by counsel, respectfully request the Court for an enlargement of
time of 30 days to respond to the Complaint (“Complaint”) of Plaintiff, Todd W.

Haley, and in support thereof, state as follows:

1. On or about March 7, 2019, Defendant, R&S Devore Trucking, Inc.,
was served with a copy of the Summons and Complaint via certified mail.

2, On or about March 8, 2019, Defendant, Rising Star, Leasing, Inc.,
was served with a copy of the Summons and Complaint via certified mail.

Si According to the Court’s online docket, Defendant, Derick W.
Hardisty, has not yet been served with a copy of the Summons and Complaint
via certified mail.

4. The time for Defendants to respond to Plaintiff's Complaint has not

yet expired.
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 18 of 29 PagelD #: 24

a Counsel for Defendants requires additional time to confer with his
clients and to prepare an appropriate response to the Complaint.
6. No prior enlargement of time has been requested or obtained.
WHEREFORE, Defendants, R&S Devore Trucking, Inc. and Derick W.
Hardisty, by counsel, respectfully request the Court for an enlargement of time
of 30 days up to and including April 29, 2019, in which to respond to the
Complaint and for all other just and proper relief.
Respectfully submitted,
WHITTEN LAW OFFICE
Mbp thf
Christopher R. Whitten/20429-49
CUGM Aon cet fewers

Lia M. Gucciardi Bowers/27556-64
Counsel for Defendants

 

 
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 19 of 29 PagelD #: 25

CERTIFICATE OF SERVICE

I certify that on March 20, 2019, I electronically served the foregoing to the
following participants:

Jason A. Shartzer, Esq.
SHARTZER LAW FIRM, LLC
156 E Market St

10% Floor, Suite 1000
Indianapolis, IN 46204
jshartzer@shartzerlaw.com

Minti

Christopher R. Whitten
Lia M. Gucciardi Bowers

 

Christopher R. Whitten, Esq.
WHITTEN LAW OFFICE

6801 Gray Road, Suite H
Indianapolis, IN 46237

PH: 317-362-0225

Fax: 317-362-0151
cwhitten@indycounsel.com

Lia M. Gucciardi Bowers, Esq.
WHITTEN LAW OFFICE

450 Vale Park Rd, Suite D
Valparaiso, IN 46385

PH: 219-531-6719

Fax: 219-531-6471
lbowers@indycounsel.com
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 20 of 29 PagelD #: 26

STATE OF INDIANA )
) SS:

COUNTY OF MADISON _ )
TODD W. HALEY,

Plaintiff,

vs.

R&S DEVORE TRUCKING INC.,
RISING STAR LEASING INC. and
DERICK W. HARDISTY,

Defendants.

MADISON CIRCUIT COURT

CAUSE NO.: 48C04-1903-CT-32

ORDER ON DEFENDANTS’ MOTION FOR ENLARGEMENT OF TIME

This matter came before the Court on Defendants’ Motion for Enlargement

of Time to Answer Complaint. The Court having been first duly advised, now

GRANTS the Motion.

IT IS THEREFORE ORDERED that Defendants, R&S Devore Trucking, Inc.

and Derick W. Hardisty, shall have up to and including April 29, 2019, in which

to respond to Plaintiffs Complaint.

Date: March 20, 2019

Copies to:
Jason A. Shartzer, Esq.
SHARTZER LAW FIRM, LLC
156 E Market St
10 Floor, Suite 1000
Indianapolis, IN 46204
jshartzer@shartzerlaw.com

     
 

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Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 21 of 29 PagelD #: 27
Filed: 3/25/2019 9:57 AM
Madison County Circuit Court 4
Madison County, Indiana

STATE OF INDIANA MADISON CIRCUIT COURT
) Ss:
COUNTY OF MADISON ) CAUSE NO.: 48C04-1903-CT-32

TODD W. HALEY,
Plaintiff,
vs.

R&S DEVORE TRUCKING INC.,
RISING STAR LEASING INC. and
DERICK W. HARDISTY,

Defendants.

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APPEARANCE BY ATTORNEY IN CIVIL CASE
Party Classification: Defendant

his The undersigned attorney and all attorneys listed on this form now
appear in this case for the following party member(s):
Rising Star Leasing, Inc.

is Applicable attorney information for service as required by Trial Rule
5(B)(2) and for case information as required by Trial Rules 3.1 and 77(B) is as
follows:

Christopher R. Whitten, Attorney No. 20429-49
WHITTEN LAW OFFICE
6801 Gray Road, Suite H
Indianapolis, IN 46237
(317) 362-0225 Telephone
(317) 362-0151 Facsimile
cwhitten@indycounsel.com

Lia M. Gucciardi Bowers, Attorney No. 27556-64
WHITTEN LAW OFFICE
450 Vale Park Rd, Suite D
Valparaiso, IN 46385
PH: 219-531-6719
Fax: 219-531-6471
lbowers@indycounsel.com

 

2. There are other party members: No.
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 22 of 29 PagelD #: 28

4. If first initiating party filing this case, the Clerk is required to assign
this case the following Case Type under Administrative Rule 8(b)(3): N/A.

o. I will accept service by FAX at the above noted number: No.

6. This case involves support issues. No. (If yes, supply social security
number for all family members).

7. There are related cases: No.

8. This form has been served on all other parties. Certificate of Service
is attached: Yes.

9. Additional information required by local rule: N/A.
Respectfully submitted,
WHITTEN LAW OFFICE

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Christopher R. Whitten/20429-49
CUAMOAN COC rch RWLr8

Lia M. Gucciardi Bowers /27556-64
Counsel for Defendants

 

 
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 23 of 29 PagelID #: 29

CERTIFICATE OF SERVICE

I certify that on March 25, 2019, I electronically served the foregoing to the
following participants:

Jason A. Shartzer, Esq.
SHARTZER LAW FIRM, LLC
156 E Market St

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jshartzer@shartzerlaw.com

Mth if

Christopher R. Whitten
Lia M. Gucciardi Bowers

 

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Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 24 of 29 PagelD #: 30
Filed: 3/25/2019 9:57 AM
Madison County Circuit Court 4
Madison County, Indiana

STATE OF INDIANA ) MADISON CIRCUIT COURT
) SS:
COUNTY OF MADISON _ ) CAUSE NO.: 48C04-1903-CT-32

TODD W. HALEY,
Plaintiff,
vs.

R&S DEVORE TRUCKING INC.,
RISING STAR LEASING INC. and
DERICK W. HARDISTY,

Defendants.

MOTION FOR ENLARGEMENT OF TIME

Defendant, Rising Star Leasing, Inc. (“Defendant”), by counsel, respectfully
requests the Court for an enlargement of time of 30 days to respond to the
Complaint (“Complaint”) of Plaintiff, Todd W. Haley, and in support thereof, state

as follows:

1. On or about March 8, 2019, Defendant, Rising Star, Leasing, Inc.,
was served with a copy of the Summons and Complaint via certified mail.

2. According to the Court’s online docket, Defendant, Derick W.
Hardisty, has not yet been served with a copy of the Summons and Complaint
via certified mail.

oe The time for Defendant to respond to Plaintiff's Complaint has not
yet expired.

4. Counsel for Defendant requires additional time to confer with his
client and to prepare an appropriate response to the Complaint.

5. No prior enlargement of time has been requested or obtained.
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 25 of 29 PagelD #: 31

WHEREFORE, Defendant, Rising Star Leasing, Inc., by counsel,
respectfully requests the Court for an enlargement of time of 30 days up to and
including April 29, 2019, in which to respond to the Complaint and for all other
just and proper relief.

Respectfully submitted,
WHITTEN LAW OFFICE

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Christopher R. Whitten/20429-49
AMOANCC Lich PRUOr8

Lia M. Gucciardi Bowers/27556-64
Counsel for Defendants

 

 
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 26 of 29 PagelD #: 32

CERTIFICATE OF SERVICE

I certify that on March 25, 2019, I electronically served the foregoing to the
following participants:

Jason A. Shartzer, Esq.
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Christopher R. Whitten
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Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 27 of 29 PagelD #: 33

STATE OF INDIANA ) MADISON CIRCUIT COURT
COUNTY OF MADISON | ss CAUSE NO.: 48C04-1903-CT-32
TODD W. HALEY,
Plaintiff,
vs.
R&S DEVORE TRUCKING INC.,

RISING STAR LEASING INC. and
DERICK W. HARDISTY,

Defendants.

ORDER ON DEFENDANT’S MOTION FOR ENLARGEMENT OF TIME
This matter came before the Court on Defendant’s Motion for Enlargement
of Time to Answer Complaint. The Court having been first duly advised, now
GRANTS the Motion.
IT IS THEREFORE ORDERED that Defendant, Rising Star Leasing, Inc.,

shall have up to and including April 29, 2019, in which to respond to Plaintiff’s

 

 

Complaint.
Date: April 1, 2019
S64, |

Copies to: 2a: ALS:
Jason A. Shartzer, Esq. Christopher R. Whittée SESae =
SHARTZER LAW FIRM, LLC Lia M. Gucciardi Bowers, wae
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Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 28 of 29 PagelD i oe ots? -

Madison County Circuit Court 4
Madison County, Indiana

STATE OF INDIANA IN THE MADISON COUNTY SUPERIOR COURT

)
COUNTY OF MADISON _ )
)
)

RISING STAR LEASING INC., and
DERICK W. HARDISTY,

SS: CIVIL DIVISION
CAUSE NO.: 48C04-1903-CT-000032
TODD W. HALEY, )
)
Plaintiff, )
)
v. )
)
R&S DEVORE TRUCKING INC., )
)
)
)
)

Defendants.

STIPULATION OF PARTIAL DISMISSAL
The parties, by their respective counsel and pursuant to IND. TRIAL RULE
41(A)(1)(B), stipulate to the dismissal of this action against Defendant, Rising Star Leasing,
Inc., ONLY, without prejudice. All claims against the Defendants, R&S Devore Trucking,

Inc. and Derick W. Hardisty, shall remain unaffected by this Stipulation.

 

Respectfully submitted,
/s/ Jason A. Shartzer /sf Christopher R. Whitten
Jason A. Shartzer (23989-49) Christopher R. Whitten (20429-49)
SHARTZER LAW FIRM LLC WHITTEN LAW OFFICE
jshartzer@shartzerlaw.com cwhitten@indycounsel.com

 

 

Attorney for Plaintiff Attorney for Defendants
Case 1:19-cv-01776-JRS-TAB Document 1-2 Filed 05/02/19 Page 29 of 29 PagelD #: 35

RISING STAR LEASING INC., and
DERICK W. HARDISTY,

STATE OF INDIANA ) IN THE MADISON COUNTY SUPERIOR COURT
COUNTY OF MADISON _ )
) SS: CIVIL DIVISION
) CAUSE NO.: 48C04-1903-CT-000032
TODD W. HALEY, )
)
Plaintiff, )
)
V. )
)
R&S DEVORE TRUCKING INC., )
)
)
)
)

Defendants.

ORDER OF PARTIAL DISMISSAL
This matter comes before the Court on the parties’ Stipulation that the Defendant,
Rising Star Leasing, Inc., be dismissed without prejudice. The Court being duly advised,
now orders that the Defendant, Rising Star Leasing, Inc., and all claims against Defendant
Rising Star Leasing, Inc., be dismissed without prejudice. The plaintiff's claims against
the other Defendants shall remain pending and unaffected by this Stipulation.

IT IS SO ORDERED.

Dated: April 12, 2019 , RON c,

Judge, Madisons@y¢ iS Couee

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All counsel of record “OF woes

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